Case 1:21-cv-23011-MD Document 75 Entered on FLSD Docket 09/26/2022 Page 1 of 4




                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF FLORIDA

                            CASE NO.: 1:21-CV-23011-MD / DAMIAN

  ALEJANDRO BORGES, individually and on
  behalf of all others similarly situated,

                          Plaintiff,

          v.

  SMILEDIRECTCLUB, LLC,

                     Defendant.
  ______________________________________/

                                       JOINT MOTION TO STAY

        Alejandro Borges (“Plaintiff”) and SmileDirectClub, LLC (“SDC”), by and through their

 respective undersigned counsel, respectfully submit this joint motion to stay this case pending

 mediation. In support thereof, the Parties state as follows:

        1.      On September 15, 2022, this Court issued an Order Denying Defendant’s Motion

 to Dismiss Class Action Complaint, and lifting the stay in effect. (Dkt. 74.) This Court set an

 answer deadline of September 30, 2022. (Id.)

        2.      The Parties have conferred and are endeavoring to schedule a mediation to

 determine if this action can be resolved.

        3.      The Parties respectfully request that this Court stay this action for a period of 60

 days to allow the Parties to devote their resources to fully explore the resolution of this matter.

        4.      This request is not being made for purposes of delay or any other improper reason.

 This stay will not impact any other presently pending dates apart from the answer deadline.

        WHEREFORE, the Parties jointly request that this Court enter an Order:

                (a)     Staying this case up to and including November 28, 2022,



                                                   1
Case 1:21-cv-23011-MD Document 75 Entered on FLSD Docket 09/26/2022 Page 2 of 4




             (b)   Resetting SDC’s answer deadline to November 28, 2022 and

             (c)   Awarding all such other relief it deems equitable and just.



 DATED: September 26, 2022                Respectfully submitted

                                         /s/ Jordan S. Kosches

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                                          Counsel for SmileDirectClub, LLC



 DATED: September 26, 2022                Respectfully submitted

                                         /s/ Manuel S. Hiraldo

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                                             2
Case 1:21-cv-23011-MD Document 75 Entered on FLSD Docket 09/26/2022 Page 3 of 4




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                                       3
Case 1:21-cv-23011-MD Document 75 Entered on FLSD Docket 09/26/2022 Page 4 of 4




                                CERTIFICATE OF SERVICE

        The undersigned hereby certifies that a true and correct copy of the above and foregoing
 JOINT MOTION TO STAY was served upon all interested parties using this Court’s ECF filing
 system this 26th day of September, 2022.



                                            /s/ Jordan S. Kosches




                                               4
